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 1    Scott H. Sims, State Bar No. 234148
      Andrew D. Stolper, State Bar No. 205462
 2    FRANK SIMS & STOLPER LLP
      19800 MacArthur Boulevard, Suite 855
 3    Irvine, California 92612,
      Telephone:      (949) 201-2400
 4    Facsimile:      (949) 201-2401
      astolper@lawfss.com
 5    ssims@lawfss.com

 6    Attorneys for Judgment Creditor
      JASON FRANK LAW, PLC
 7

 8
                                UNITED STATES DISTRICT COURT
 9
                               CENTRAL DISTRICT OF CALIFORNIA
10

11    In re                                     Case No. 8:18-CV-01644-VAP-KES

12    EAGAN AVENATTI, LLP,                      DECLARATION OF JASON M. FRANK IN
                                                SUPPORT OF MOTION FOR
13                         Debtor.              APPOINTMENT OF RECEIVER AND
                                                RESTRAINING ORDER
14
                                                [Motion, Declaration of Brian Weiss and
15                                              [Proposed] Order filed concurrently herewith]

16                                              Date:      March 12, 2018
                                                Time:      10:00 a.m.
17                                              Courtroom: 6D

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 1                                DECLARATION OF JASON M. FRANK

 2   I, Jason M. Frank, declare as follows:

 3           1.         I am the owner and president of the judgment creditor, Jason Frank Law, PLC

 4   (“JFL”). I am admitted to practice law before all federal and state courts in the State of California,

 5   and I am a member in good standing of the State Bar of California. I am currently a partner at

 6   Frank Sims & Stolper LLP (“FSS”). I am making this declaration in support of JFL’s Motion for

 7   Appointment of Receiver (the “Motion.”) I have personal knowledge of the facts set forth herein,

 8   unless stated on information and belief, and if called as a witness, I could and would competently

 9   testify thereto.

10           2.         I worked at EA from February 15, 2009 through May 20, 2016. EA is small

11   litigation firm that had approximately seven to nine attorneys at any given time during my

12   employment at the firm. EA primarily handles contingency matters, whereby the firm only receives

13   legal fees after a case resolves in favor of EA’s clients. The two equity partners are Michael Eagan

14   (“Eagan”) and Michael Avenatti (“Avenatti”). Avenatti is the managing partner of the firm and

15   owns his interest in the firm through his personal corporation, Avenatti & Associates, APC (“AA”).

16           3.         My last contract with EA was entered as of November 1, 2013. The contract was

17   an independent contractor agreement between EA, on the one hand, and my professional law

18   corporation, JFL, and I (Jason Frank) on the other hand. Pursuant to Section 3 of the contract, JFL

19   was entitled to various forms of compensation, including 25% of the firm’s annual profits, 20% of

20   the fees collected from Frank’s clients and certain case-specific bonuses, among other

21   compensation. JFL was also entitled to the firm’s financial information, including its federal tax

22   returns, Schedule K-1’s and annual revenue and expense reports pursuant to Section 5 of the

23   contract. A true and correct copy of this contract is attached as Exhibit 1.

24           4.         EA failed to pay the amounts owed to JFL under the independent contractor

25   agreement. Accordingly, in February 2016, I, on behalf of JFL, filed an arbitration demand with

26   JAMS for breach of contract. JFL later added a claim for fraud and punitive damages after learning

27   EA and Avenatti had been misstating the firm’s profits. I resigned from the firm on May 20, 2016.

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 1          5.      The arbitration was scheduled to go forward on March 13, 2017. On February 10,

 2   2017, the three-judge arbitration panel unanimously awarded substantial issue and evidentiary

 3   sanctions against EA, including a finding that EA had “acted with malice, fraud and oppression by

 4   hiding its revenue numbers” and “tax returns” from JFL in violation of the independent contractor

 5   agreement.    The panel concluded that further issue sanctions were appropriate due to the

 6   “magnitude of EA’s non-compliance with Panel Orders” concerning its failure to produce financial

 7   records. A copy of the Panel’s Final Sanction Order is attached as Exhibit 2. On February 22,

 8   2017, the Panel unanimously ordered Avenatti, Eagan and EA’s office manager, Judy Regnier, to

 9   each appear for a deposition no later than March 3, 2017, or else JFL could request additional

10   sanctions. A copy of the Panel’s Order Compelling Depositions is attached as Exhibit 3.

11          6.      On March 1, 2017, less than two weeks before the arbitration and two days before

12   the deposition deadline, a single creditor named Gerald Tobin with a purported claim of $28,700

13   filed a petition to place EA into involuntary bankruptcy in the Middle District of Florida, thereby

14   staying the arbitration proceedings.    (Case No. 6:17-bk-01329-KSJ, Doc. 1.)            JFL filed an

15   emergency motion for relief from the stay.         (Id., Doc. 3).    The Florida bankruptcy court

16   conditionally granted the motion because the “involuntary case has the stench of impropriety” and

17   questioned whether Tobin “has some relationship with the firm that would have induced a collusive

18   filing or if [EA] just got plain lucky that somebody filed on the eve of the arbitration.”

19   Notwithstanding the foregoing, court indicated the stay would remain in effect if EA voluntarily

20   consented to be placed into bankruptcy. A copy of the relevant excerpts of the hearing transcript

21   (pp. 21:21 to 24:7) before the Florida bankruptcy court are attached as Exhibit 4.

22          7.      On Friday, March 10, 2017, one court day before the arbitration, EA consented to

23   be placed into Chapter 11 bankruptcy thereby preventing the arbitration from going forward

24          8.      During the bankruptcy, there were two 341(a) Meeting of Creditors conducted by

25   the U.S. Trustee’s office in which Avenatti testified on behalf of EA: the first occurred on June 12,

26   2017 and the second on July 14, 2017. The second meeting was held due to the fact that the U.S.

27   Trustee’s office identified a number of “errors” in EA schedules and required EA to file amended

28   schedules. A copy of the excerpts cited in the Motion from the transcript of the first 341(a) Meeting
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 1   of Creditors (pp. 105:4-25 187:6 – 188:14) is attached as Exhibit 5. A copy of the excerpts cited

 2   in the Motion from the transcript of the second 341(a) Schedule Meeting of Creditors (pp. 51:17-

 3   25; 59:2 – 63:9; 70:2 – 73:18) is attached as Exhibit 6.

 4          9.      In August 2017, I entered into a settlement with EA, AA, Avenatti and Eagan on

 5   behalf of myself, JFL, my current law firm, FSS, and my current partners, Scott Sims (“Sims”) and

 6   Andrew Stolper (“Stolper”).      The settlement was documented in a written agreement dated

 7   December 12, 2017. A true and correct copy of the written Settlement Agreement (without its

 8   exhibits) is attached as Exhibit 7.

 9          10.     On March 15, 2018, the Bankruptcy Court approved the Settlement and dismissed

10   EA’s bankruptcy case. As a result, EA’s first settlement payment to JFL was due within 60 days,

11   on or before May 14, 2018. EA failed to make the payment.

12          11.     As a result of EA’s default of the Settlement, on May 22, 2018, the Bankruptcy

13   Court entered a final judgment against EA in the amount of $10 million plus post-judgment interest

14   and reasonable attorney fees and costs incurred in collecting the judgment (the “Judgment”). (Case

15   No. 8:17-bk-11961-CB, Doc. 445). A Writ of Execution was issued on June 6, 2018 in the amount

16   of $10,008,465.75, a true and correct copy of which is attached as Exhibit 8. A judgment lien in

17   the amount of $10,008,465.75 against EA’s assets was entered with the California Secretary of

18   State on June 7, 201, a true and correct copy of which is attached as Exhibit 9. Based on a search

19   of prior liens, it is my understanding that JFL’s secured judgment lien has priority over all other

20   liens and claims against EA and its property, with the possible exception of approximately $200,000

21   in liens still held by the United States Internal Revenue Service (the “IRS”).

22          12.     On or about November 20, 2018, the California Superior Court for the County of

23   Los Angeles entered a judgment in favor of JFL against Avenatti for $5,054,287.75, not including

24   post-judgment interest and attorney fees and costs. This was due to Avenatti’s breach of a personal

25   Guaranty entered in connection with the Settlement. A copy of the judgment against Avenatti is

26   attached as Exhibit 10.

27          13.     To date, EA has not made any payments toward the Judgment. The U.S. Marshals

28   sent Memorandums of Garnishee notifying JFL that it levied $3,003.93 from EA’s bank accounts
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 1   in June 2018 and $99.30 in July 2018 and $5,649.82 in November 2018.

 2          14.     There is now due and owing JFL the amount of $10,000,000 plus interest from the

 3   date of the entry of the Judgment (May 22, 2018) at a rate of approximately $564.38 per day for an

 4   approximate total of $150,125.08 ($564.38 x 266 days). I have not included a liquidated amount of

 5   counsel fees and costs incurred to date to enforce the Judgment, as that amount increases nearly

 6   daily. But I, on behalf of JFL, expressly reserve the right to seek such amounts in the future as

 7   provided for in the Judgment.

 8          15.      On or about July 12, 2018, Avenatti was ordered to appear for a judgment debtor

 9   exam on July 25, 2018. (Case No. 8:17-bk-11961-CB, Dkt. 477). The Bankruptcy Court also

10   issued a subpoena for financial records and client information, among other categories of

11   documents.

12          16.     On July 25, 2018, Avenatti showed up to the judgment debtor exam without any

13   documents (beyond his publicly filed bankruptcy schedules). The exam was of little value because

14   Avenatti would repeatedly claim he needed to “look at” his financial records to answer any specific

15   questions about EA’s assets. A true and correct copy of excerpts from the July 25, 2018 exam cited

16   in the Motion (pp. 10:15 – 11:1; 32:14-33:14; 41:11 – 42:8) is attached as Exhibit 11. A full copy

17   of the exam was lodged with the Court in this matter on or about January 24, 2019. (Doc. 43.)

18          17.     On November 28, 2018, this Court ordered Avenatti to produce the records and

19   information requested in the subpoena as modified by JFL’s status conference report concerning

20   meet and confer efforts. (Doc. 25.) To date, Avenatti has failed to produce the financial records,

21   client information and case information, among other documents ordered by the Court despite

22   numerous opportunities to do so – as set forth in detail in this Court’s Certification and Order to

23   Show Cause Re Contempt. (Doc. 48.) Judge Phillips has indicated she will be setting a hearing on

24   whether to find Avenatti in contempt based on this Court’s certified findings of fact.

25          18.     On July 11, 2018, the Bankruptcy Court issued a restraining order (the “Restraining

26   Order”) precluding EA from “assigning, encumbering or in any way transferring any proceeds,

27   attorney’s fees, costs, rights to payments and accounts receivable” that EA receives or is entitled to

28   receive from any clients or lawsuits identified in Exhibit A to JFL’s Amended Motion for Entry of
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 1   Assignment and Restraining Order (the “Cases”). (Case No. 8:17-bk-11961-CB, Doc. 498.) The

 2   order further required EA to file notice of receipt of any monies received from the Cases regardless

 3   of whether the payment is made to EA, AA, Avenatti or Eagan, or any entity controlled by them.

 4   (Id.) A true and correct copy of the Restraining Order and Exhibit A identifying the Cases covered

 5   by the Order are attached as Exhibit 12. A true and correct copy of the cited excerpts from the July

 6   11, 2018 transcript of the hearing on JFL’s Amended Motion for Entry of Assignment and

 7   Restraining Order cited in the Motion (pp. 41:18-43:20) is attached as Exhibit 13.

 8          19.     EA has never timely filed the notice of receipt of funds required by the Restraining

 9   Order, and only does so after JFL notifies EA and/or the Court of EA’s non-compliance. To date,

10   EA has not filed a notice for any money received after December 12, 2018, despite its assurances

11   it would submit the notice by the 15th of every month. Specifically, in response to an earlier Motion

12   for Contempt filed by JFL, EA argued the Restraining Order was “silent” on when EA had to send

13   the notice of receipt of money and opposed JFL’s contention that EA had to provide prompt notice

14   upon receipt of payment. (Case No. 8:17-bk-11961-CB, Doc. 538.) Instead, EA argued it “always

15   intended to file its status reports on a monthly basis much like the monthly operating reports that it

16   filed in the bankruptcy case” and would do so on the 11th of each month. (Id. at 2.) At a hearing

17   on August 27, 2018, the Bankruptcy Court permitted EA to file the notice by the 15th of each

18   month. But when September 15th arrived, EA failed to provide the notice. After notifying EA’s

19   counsel of the non-compliance, EA subsequently served the notice on September 18, 2018.

20   However, on October 15, EA once again failed to provide the notice. After JFL notified EA of the

21   deficiency, EA sent a notice on October 18, 2018. Nothing was sent in November 2018. After

22   raising this delinquency with this Court, EA filed a notice on December 18, 2018 for the time period

23   October 13 through December 12, 2018. No other notices have been provided since. A true and

24   correct copy of the excerpts from the August 27, 2018 transcript cited in the Motion (p. 44:7-12) is

25   attached as Exhibit 14.

26          20.     In response to a subpoena, California Bank & Trust (“CBT”) has produced copies

27   of EA’s bank records to JFL for the time period January 1, 2013 through October 31, 2018. CBT

28   has also produced bank records for EA’s client trust accounts from the time period January 1, 2012
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 1   through October 31, 2018. In addition, CBT has produced bank records for other entities owned

 2   by Avenatti, including AA, Global Baristas and Passport 420, among other entities.

 3          21.     In response to a subpoena, City National Bank (“CNB”) has produced copies of

 4   bank records to JFL for four (4) accounts Avenatti opened during the bankruptcy, an operating

 5   account and three client trust accounts.

 6          22.     Pursuant to this Court’s instructions, JFL is redacting all but the last four digits of

 7   bank account numbers for identification purposes. (Doc. 34.)

 8          23.     During the initial Judgment Debtor Exam, on July 25, 2018, Avenatti testified that

 9   EA receives $35,000 per month in fees from a client named Medline Industries, Inc. (“Medline”).

10   in connection with one of the Cases covered by the Restraining Order (“Medline v. Kimberly

11   Clark”). (See Ex. 11 at 44:11 – 42:8; Ex. 12, ¶ 14.)

12          24.     Attached as Exhibit 15 is a check from Medline in the amount of $35,000 that was

13   deposited into EA’s Debtor-In-Possession Operating Account at CBT (0313) in June 2018, which

14   was produced by CBT in response to JFL’s subpoena.

15          25.     Attached as Exhibit 16 are checks from Medline (each in the amount of $35,000)

16   that were deposited into EA’s Client Trust Account at CBT (4613) in July, August, September and

17   October 2018. These documents were produced by CBT in response to JFL’s subpoena.

18          26.     Attached as Exhibits 17, 18, 19, 20, 21, 22, 23 and 24 are the bank statements for

19   EA’s Client Trust Account at CBT (4613) for the months of March 2018 (when the bankruptcy was

20   dismissed) through October 2018. These documents were produced by CBT in response to JFL’s

21   subpoena.

22          27.     Pursuant to the Operating and Reporting Requirements of the U.S. Trustee (“ORR”),

23   a Chapter 11 Debtor must “immediately close pre-petition bank accounts and open new ‘debtor in

24   possession’ bank accounts” (“DIP accounts”). (ORR, Operating Guidelines I(A)(1); 11 U.S.C. 345,

25   704(8); 28 U.S.C. 586.).

26          28.     On or about May 23, 2017, due to EA’s Chapter 11 bankruptcy, EA closed its bank

27   accounts at CBT and opened Debtor-In-Possession (“DIP”) accounts at CBT, including a DIP

28   operating account (0313), a DIP payroll account (0321) and a DIP IRS account (0339). Attached
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 1   as Exhibit 25 is the signature card produced by CBT for the DIP accounts reflecting that they were

 2   opened on May 23, 2017.

 3          29.     EA did not close its existing client trust account at CBT (8671). However, during

 4   the bankruptcy, EA opened two new client trust accounts at CBT: CBT (3714) opened on or about

 5   September 19, 2017 and CBT (4613) opened on or about January 26, 2018. A copy of the signature

 6   card produced by CBT for these accounts is attached as Exhibit 26.

 7          30.     On or about May 11, 2017, less than two weeks before opening EA’s DIP accounts

 8   at CBT, Avenatti opened two new accounts at City National Bank (“CNB”) under the name

 9   “Michael Avenatti, Esq.”: one of which was a general operating account (3504) and the other

10   designated as a “client trust account” (3512). A true and correct copy of the Business Account

11   Agreements produced by CNB for these accounts are attached as Exhibit 27 (3504) and Exhibit

12   28 (3512).

13          31.     During the bankruptcy, Avenatti opened two more “client trust accounts” at CNB:

14   one on or about September 15, 2017 (4705) and the other on or about December 28, 2017 (5566).

15   CNB did not produce Business Account Agreements for these two accounts, but the first bank

16   statements for each account are attached as Exhibit 29 (4705) and Exhibit 30 (5566).

17          32.     Avenatti never disclosed that he opened these CNB accounts during the bankruptcy,

18   nor did he disclose the existence of these accounts. In fact, under questioning by the U.S. Trustee’s

19   Office during the 341(a) Meeting of Creditors on June 12, 2018, Avenatti denied, under oath, that

20   he currently had any client trust accounts in his name, despite opening these accounts a month

21   earlier. (Ex. 5 at 187:16 – 188:14.) Further, during the initial judgment debtor exam in this matter

22   on July 25, 2018, Avenatti testified that EA’s only accounts during the last four years were at CBT.

23   (Ex. 11 at 32:14-33:14.) However, as the evidence establishes below, Avenatti was depositing

24   millions of dollars of EA fees into these undisclosed CNB accounts both during and after the

25   bankruptcy.

26          33.     In connection with its Schedule of Assets in the bankruptcy, EA identified a series

27   of cases in which EA was entitled to contingency fees. (Case No. 8:17-bk-11961-CB, Doc. 149,

28   Exhibit B-75). EA filed an “Errata” to its schedules on August 22, 2017 because it failed to list
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 1   certain matters identified during the bankruptcy proceedings. A true and correct copy of the list of

 2   EA contingency cases identified by EA during the bankruptcy, as modified by the “Errata”, is

 3   attached as Exhibit 31.

 4                                          The Greco v. NFL Cases

 5          34.     One of the matters EA listed on its Schedule of Assets was the Greco v. NFL case,

 6   which was a series of consolidated lawsuits relating to Super Bowl XLV in Dallas, Texas. (Ex. 31,

 7   ¶ 8.) EA’s local counsel on the matter was Christopher Ayres (“Ayres”) of Ayres Law Office P.C.

 8   (the “Ayres firm”).

 9          35.     On or about December 27, 2018, JFL served a deposition and document subpoena

10   on the Ayres firm. Per JFL’s agreement, the Ayres firm provided an affidavit in lieu of a deposition,

11   and produced 34 pages of records (the “Ayres Affidavit”). Attached as Exhibit 32 is a true and

12   correct copy of the Ayres Affidavit.

13          36.     Attached as Exhibit 33 is an email from Ayres, dated May 10, 2017, which was

14   produced by Ayres in connection with JFL’s subpoena.

15          37.     Attached as Exhibit 34 is an email from Avenatti, dated May 15, 2017, in which

16   Avenatti instructs how EA’s payment of $1,361,717.27 should be wired to two separate accounts.

17   Avenatti instructs how one wire in the amount of $408,723.70 should be sent to CBT with the

18   beneficiary name EA and the other wire in the amount of $952,994.57 should be sent to CNB in

19   the name of “Attorney Client Trust Account, 520 Newport Center Dr. Ste. 1400, Newport Beach,

20   CA.” This is the address for EA. This email was produced by Ayres in connection with JFL’s

21   subpoena.

22          38.     Attached as Exhibit 35 is the May 2017 bank statement from EA’s prior Operating

23   Account at CBT (2851) reflecting receipt of the wire of $408,723.70 from the Ayres firm, which

24   was produced by CBT in response to the subpoena.

25          39.     Attached as Exhibit 36 is a chart of incoming wires into the CNB client trust account

26   (3512) produced by CNB in response to the subpoena. It reflects that this account received a wire

27   from the Ayres firm in the amount of $952,994.57.

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  1          40.     EA disclosed the receipt of the $408,723.70 in its Monthly Operating Report for

  2   May 2017. (Case No. 8:17-bk-11961-CB, Doc. 126, pp. 1, 23.) However, EA did not disclose

  3   the receipt of the other $952,994.57. (Id.) In other words, EA and Avenatti made it appear to the

  4   Bankruptcy Court, the U.S. Trustee’s office and EA’s creditors that EA only received

  5   $408,723.70 from the Ayres firm in May 2017, when in fact it received over $1.36 million.

  6          41.     Avenatti transferred virtually all of the $952,994.57 from the CNB client trust

  7   account (3512) to the CNB operating account (3504) in seven separate transactions over the next

  8   two months. Attached as Exhibit 37 are the counter checks for the CNB client trust account (3512)

  9   for the months of May, June and July 2017 transferring the money to the CNB operating account

 10   (3504). Attached as Exhibit 38 are the bank statements for the CNB operating account (3504) for

 11   the months of May, June and July 2017 reflecting the deposits.

 12          42.     As soon as the money from the Greco v. NFL cases was deposited into the CNB

 13   operating account (3504), Avenatti immediately wired the money to AA’s operating account at

 14   CBT (0661). (See Ex. 38). Attached as Exhibit 39 is a chart of outgoing wires from the CNB

 15   operating account (3504) reflecting the wires to AA.

 16          43.     Attached as Exhibit 40 are the bank statements from AA’s operating account at

 17   CBT (0661) for the months of May and June 2017, reflecting the deposits from the Greco v. NFL

 18   cases and the subsequent payments AA made for Avenatti’s personal expenses -- such as his

 19   monthly rent at the Ten Thousand luxury apartment building in Century City ($14,235.98), monthly

 20   car payments on his Ferrari ($4,000), Traditional Jewelers ($11,000), Koi fish ($1,348), etc. -- as

 21   well as larger transfers to his other business interests, such $150,000 to his coffee company (Global

 22   Baristas) and $232,875 to HTP Motorsport GmBh for his auto racing hobby.

 23                                      Barela v. Brock USA, LLC

 24          44.     EA was counsel of record for Greg Barela in a lawsuit entitled Barela v. Brock USA,

 25   LLC, Case No. 8:15-cv-779 (“Barela”) filed in U.S District Court for the Central District of

 26   California in May 2015. The lawsuit was compelled to arbitration before the Judicial Arbiter

 27   Group, Inc. in Colorado. A true and correct copy of the docket reflecting this information is

 28   attached as Exhibit 41.

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  1          45.     During the bankruptcy, on or about December 28, 2017, Avenatti opened another

  2   undisclosed client trust account at CNB (5566). On January 5, 2018, this account received a wire

  3   of $1.6 million from Brock USA LLC. Attached as Exhibit 42 is the January 2018 bank statement

  4   for CNB (5566) reflecting this wire. Attached as Exhibit 43 is the Transaction Detail Report for

  5   the wire produced by CNB in response to the subpoena.

  6          46.     One day prior to the wire, Avenatti deposited a check to EA into CNB (5566) from

  7   Judicial Arbiter Group, Inc. for $11,718.75 – which according to memo line on the check was for

  8   “Barela v. Brock.” A true and correct copy of the check is attached as Exhibit 44.

  9          47.     On January 11, 2018, Avenatti sent EA a cashier’s check for $111,113.22. A true

 10   and correct copy of the check is attached as Exhibit 45.

 11          48.     Remaining money from the $1.6 million deposit was disbursed from CNB (5566) to

 12   various persons and entities that appear to be related to Avenatti’s coffee company (Global

 13   Baristas), such as Dillanos Coffee Roasters and Alki Bakery. Attached as Exhibit 46 is a chart of

 14   outgoing wires from CNB (5566). Attached as Exhibit 47 is an article from the Seattle times

 15   (www.seattletimes.com/seattle-news/before-stormy-daniels-her-attorney-faced-allegations-of-

 16   dubious-business-dealings/) about Avenatti and Global Baristas, which identifies Dillanos Coffee

 17   and Alki Bakery as creditors of Global Baristas.

 18          49.     EA never disclosed the Barela case on its Schedule of Assets in the bankruptcy.

 19   (See Exhibit 31). Further, EA and Avenatti did not disclose that Avenatti received money from

 20   this settlement to pay his personal expenses. On the contrary, Avenatti signed a statement under

 21   penalty of perjury stating that he, as EA’s principal, did not receive any compensation that month.

 22   (Case No. 8:17-bk-11961-CB, Doc. 372). Barela recently filed a lawsuit against EA and Avenatti

 23   claiming that Avenatti never disclosed he received the settlement payment in January 2018 and, in

 24   fact, denied receiving the payment. A copy of that complaint as produced by the Daily Beast is

 25   attached as Exhibit 48.

 26                                      Nadjat-Haiem v. Alhadeff

 27          50.     During the bankruptcy, EA opened a new client trust account at CBT (3714) on

 28   September 19, 2017. (Exhibit 26.) EA did not disclose this account during the bankruptcy.
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  1          51.     The next day after it was opened, on or about September 20, 2017, a check was

  2   deposited into this new EA client trust account (3714) in the amount of $5.5 million. The check

  3   states “PAY TO THE ORDER OF Eagan Avenatti LLP, as attorney for Jennifer Nadjat-Haiem.”

  4   A true and correct copy of the check is attached as Exhibit 49.

  5          52.     A search of court records reveals that EA represented Nadjat-Haiem in a personal

  6   injury action entitled Jennifer Nadjat-Haiem v. Matthew Joseph Alhadeff. A true and correct copy

  7   of the docket reflecting EA’s representation of Nadjat-Haiem is attached as Exhibit 50.

  8          53.     EA did not list this matter on its Schedule of Assets in the bankruptcy. (See Exhibit

  9   31). EA further did not disclose to the Bankruptcy Court the receipt of this payment in its Monthly

 10   Operating Report. (Case No. 8:17-bk-11961-CB, Doc. 260.) Instead, similar to the Greco v. NFL

 11   case, Avenatti transferred a portion of the money ($409,241.28) to EA’s DIP account -- which

 12   amount was disclosed in the Monthly Operating Report -- while keeping a larger portion hidden in

 13   the client trust account so he could transfer it to himself and pay other personal expenses without

 14   the knowledge of the Bankruptcy Court or EA’s creditors. (Id., p. 18.) In total, Avenatti transferred

 15   at least $1.7 million from the new client trust account at CBT (3714) to himself, his coffee company

 16   (Global Baristas) and other expenses relating to his coffee company. Attached as Exhibit 51, 52

 17   and 53 are the September, October and November 2017 bank statements for EA’s client trust

 18   account at CBT reflecting these facts.

 19          54.     Avenatti did not disclose he received any money from this settlement. On the

 20   contrary, he falsely stated, under penalty of perjury, in the October and November 2017 Monthly

 21   Operating Reports that EA did not provide “any compensation or renumeration to any officers,

 22   directors, principals or other insiders” during the months of October and November 2017. (Case

 23   No. 8:17-bk-11961-CB, Doc. 294, 310.)

 24                                            Personalized Beauty

 25          55.     In September 2017, Avenatti opened another undisclosed client trust account at

 26   CNB (4705). (See Exhibit 29.) That same month, approximately $29 million was deposited into

 27   the account from a third-party, Personalized Beauty Discovery, Inc. (“Personalized Beauty”), as

 28   well as $899,795.85 from Avenatti. A true and correct copy of the September 2017 bank statement
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  1   for the CNB (4705) account is attached as Exhibit 54.

  2          56.       A true and correct copy of a chart of incoming wires into the CNB (4705) account

  3   is attached as Exhibit 55.

  4          57.       A true and correct copy of a chart of outgoing wires from the CNB (4705) account

  5   is attached as Exhibit 56. During the period March 20, 2018 to May 1, 2018, Avenatti wired over

  6   $1 million from the CNB account (4705) to an EA client trust account at CBT (3714). As the May

  7   14, 2018 deadline for EA’s first Settlement Payment to JFL approached, Avenatti transferred the

  8   remaining amount of over $4 million to a clearing account at the Boston Private Bank & Trust, Co.,

  9   thereby emptying the CNB account prior to JFL’s Judgment

 10          58.       A true and correct copy of a counter check, dated September 18, 2017, in the amount

 11   of $2,787,650.87 from the CNB (4705) account to the operating account at CNB (3504) is attached

 12   as Exhibit 57.

 13                          Post-Judgment Acts of Concealment and Diversion

 14          59.       On June 18, 2018, a third-party wired $17 million to the same undisclosed “client

 15   trust” account at City National Bank that Avenatti set up for the Greco v. NFL money (CNB 3512).

 16   (See Exhibit 36). That same day, Avenatti wired $1.2 million in fees from this settlement into

 17   another undisclosed client trust account that EA opened at CBT (4613). (See Exhibit 39.) This

 18   client trust account was opened by EA during the bankruptcy on January 26, 2018. (See Exhibit

 19   26.) This was the first deposit into this account. The money was then transferred to various

 20   Avenatti entities (AA and Passport 420) and related third-parties (the X-Law Group). (See Exhibit

 21   39.)

 22          60.       The bank statements produced by CBT and CNB have been loaded into an electronic

 23   database (Valid8) that enables me to search for payments to various persons and entities and totals

 24   the payments by account or multiple accounts. Using this tool, I calculated the total amount of

 25   money paid from EA’s client trust accounts at CBT to Avenatti’s coffee company (Global Baristas),

 26   his personal corporation (AA) and the holding company for his HondaJet airplane (Passport 420).

 27   I also calculated the total amount paid to these entities after the dismissal of the bankruptcy. These

 28   totals include wires and inter-bank transfers. They do not include checks EA may have wrote to
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  1   one of these AA entities, so the amounts may be understated. This review yielded the following:

  2                  a. EA has transferred over $1,974,219 to Global Baristas from EA’s client trust

  3                      accounts at CBT, including $352,950 since the dismissal of the bankruptcy on

  4                      March 15, 2018.

  5                  b. EA has transferred $629,660 to AA from EA’s client trust accounts at CBT,
  6                      including $462,150 since the dismissal of the bankruptcy.
  7                  c. EA has transferred $112,500 to Passport 420 from EA’s client trust accounts at
  8                      CBT, including $91,200 since the dismissal of the bankruptcy.
  9   This does not include the other non-EA related payments made from the client trust accounts as
 10   reflected in those bank statements. (See, e.g., Exhibits 17, 18, 19, 20, 21, 22, 23 and 24.)
 11                                            Kimberly-Clark
 12          61.     One of EA’s largest known assets is its right to attorney fees and costs in a class

 13   action entitled Bahamas Surgery Center LLC. V. Kimberly-Clark Corp. et al., Case No. CV 14-

 14   8390-DMG (PLAx) (the “Kimberly-Clark class action”). During the bankruptcy, EA obtained a

 15   trial verdict of approximately $5 million in compensatory damages and prejudgment interest, and

 16   approximately $449 million in punitive damages. (Case No. CV 14-8390-DMG, Doc. 501, 503.)

 17   The trial court (the Honorable Dolly Gee) reduced the punitive damage award on remitter to

 18   approximately $20 million and entered a judgment against Defendants for approximately $25

 19   million. (Id., Doc 529, 578.) Defendants appealed the judgment, and EA, on behalf of the class,

 20   appealed the punitive damage award reduction. The Parties agreed to delay EA’s application for

 21   fees and costs until after the resolution of the appeals. The briefing on the appeals is scheduled to

 22   conclude next month in March 2019.

 23          62.     Assuming the judgment in the Kimberly-Clark class action is affirmed, EA stands

 24   to be awarded fees and costs of at least $10 million. During the past two decades of my practice, I

 25   have specialized in class action litigation. As a result, I am well-versed in the law regarding fee

 26   awards in federal class actions. Where, as here, a class action goes to trial and then on appeal, the

 27   standard fee award is typically 40% of the total award. (See Expert Declaration of William B.

 28   Rubenstein in Hale v. State Farm et al., Case No. 3:12-cv-00660 (S.D. Ill., Oct. 16, 2018), ¶ 38.)
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  1   In December 2018, my firm and co-counsel were recently awarded fees totaling approximately

  2   40% of a total $25 million settlement fund in an employment class action in Orange County,

  3   California entitled Wall v. HP Inc. et al., Case No. 30-2012-00537897-CU-BT-CXC.

  4          63.     During these post-judgment proceedings, Avenatti filed an opposition to JFL’s

  5   Amended Motion for Entry of Assignment and Restraining Order in which he claims that EA is

  6   only entitled to “a small portion of the fees from the case due to the fact the firm was never

  7   appointed class counsel in the case.” (Case No. 8:17-bk-11961-CB, Doc. 464 at 2.) Instead,

  8   Avenatti contends he personally was appointed Class Counsel, not the firm, and therefore he is

  9   personally entitled to the fees. (Id.)

 10          64.     This is not how fee awards work in class actions - fees are awarded to the firm, not

 11   the individual lawyer. But even accepting this absurd premise arguendo, given that Avenatti is the

 12   managing partner of EA, the conflict of interest is obvious. Absent a receiver, Avenatti could

 13   deliberately attempt to have the fees awarded to himself or another entity, at the detriment of EA

 14   and its creditors. A receiver needs to be in place to ensure EA’s interests are represented in any fee

 15   application in the Kimberly-Clark class action or other matters.

 16                     EA’s Eviction from its Office in Newport Beach, California

 17          65.     EA was evicted from its office at 520 Newport Center Drive, Newport Beach

 18   California on November 28, 2018. On December 17, 2018, I, on behalf of JFL as a secured creditor

 19   of EA, received a Notice of Right to Reclaim Abandoned Personal Property from counsel for the

 20   landlord, the Irvine Company. The deadline to claim the property was January 10, 2019. A true

 21   and correct copy of the notice is attached as Exhibit 58.

 22          66.     On December 21, 2018, I inspected EA’s premises with the landlord’s representative

 23   in preparation for an auction of the abandoned property. Upon inspection, I observed that virtually

 24   all of the artwork had been removed from the premises. EA indicated this artwork was worth

 25   approximately $50,000 in its bankruptcy schedules. (Case No. 8:17-bk-11961-CB, Doc. 149, ¶

 26   39.) As I was leaving the inspection, I noticed EA’s office manager, Judy Regnier, was parked

 27   next to my vehicle and sitting in her car in the parking lot, so EA was aware of my inspection.

 28
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  1          67.     The following week, counsel for landlord notified me that EA had removed all of

  2   the property from the premises over the weekend, so there was nothing left to auction. I do not

  3   know where EA moved the property, but given the large amount of furniture (desks, conference

  4   tables, etc.), it must be in storage somewhere. My understanding is that EA is operating out of a

  5   small office in Los Angeles, CA that would not be able to fit all of the abandoned furniture.

  6          68.     I am nominating Brian Weiss to serve as the Receiver. I have no objection to his

  7   appointment as Receiver.

  8          I declare under penalty of perjury under the laws of the United States of America that the

  9   foregoing this true and correct. Executed this 12th day of February 2019.

 10
                                                                 /s/ Jason M. Frank
 11                                                         JASON M. FRANK
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